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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   KRYSTAL FREEMAN
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11
     UNITED STATES OF AMERICA,          )   NO. CR-S-07-307-WBS
12                                      )
                     Plaintiff,         )   STIPULATION AND [PROPOSED] ORDER
13                                      )   CONTINUING STATUS CONFERENCE
          v.                            )
14                                      )
     KRYSTAL FREEMAN, et al.,           )   Date: October 9, 2007
15                                      )   Time: 8:30 a.m.
                                        )   Judge: Hon. William B. Shubb
16                   Defendant.         )
                                        )
17   _______________________________
18
          It is hereby stipulated and agreed to between the United States of
19
     America through Camil Skipper, Assistant United States Attorney and
20
     KRYSTAL FREEMAN, by and through her counsel, Rachelle Barbour,
21
     Assistant Federal Defender, that the status conference presently
22
     scheduled for September 24, 2007 be vacated and rescheduled for October
23
     9, 2007 at 8:30 a.m.
24
          This continuance is being requested because defense counsel
25
     requires additional time to review discovery, discuss the case with the
26
     government, and pursue investigation.       Defense counsel recently
27
     received over a thousand pages of electronic discovery from the
28
              Case 2:07-cr-00307-WBS Document 23 Filed 09/26/07 Page 2 of 2


 1   prosecutor and needs time to review this with her client.                The parties
 2   also anticipate a possible resolution of this case.
 3         IT IS FURTHER STIPULATED that the period from the date of this
 4   stipulation through and including October 9, 2007, be excluded in
 5   computing the time within which trial must commence under the Speedy
 6   Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4
 7   for preparation of defense counsel.
 8   Dated: September 21, 2007
 9                                             Respectfully submitted,
10                                             DANIEL J. BRODERICK
                                               Federal Defender
11
                                               /s/ Rachelle Barbour
12                                             ________________________________
                                               RACHELLE BARBOUR
13                                             Assistant Federal Defender
                                               Attorney for Defendant
14                                             KRYSTAL FREEMAN
15
16   Dated: September 21, 2007
17                                             MCGREGOR W. SCOTT
                                               United States Attorney
18
                                               /s/ Rachelle Barbour for
19                                             _________________________________
                                               CAMIL SKIPPER
20                                             Assistant U.S. Attorney
21                                        O R D E R
22   IT IS SO ORDERED.
23   Dated:    September 24, 2007
24
25
26
27
28


     Stip & Order                              2
